                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA                    )
                                            )
       Plaintiff,                           ) Cause No. 1:17-cr-0222-JMS-TAB-11
                                            )
       v.                                   )
                                            )
JAMES BEASLEY, et. al.                      )
                                            )
       Defendant.                           )

            DEFENDANT JAMES BEASLEY’S SENTENCING MEMORANDUM

       Comes now Defendant, JAMES BEASLEY (“Beasley”), by counsel, and for his

sentencing memorandum in this matter, respectfully states and avers as follows:

                              I. Brief Procedural Background.

       By way of Superseding Indictment dated September 12, 2018 (the “Indictment”), Beasley

faced and ultimately was convicted on August 15, 2019 following a three (3) week jury trial, of

three (3) criminal charges in this Case: Count 1, Conspiracy to Distribute Methamphetamine

under 21 U.S.C. §846 and Counts 16 and 17, Possession of Methamphetamine with Intent to

Distribute under 21 U.S.C. §841(a)(1) (collectively the “Charges”). See generally Dkts 280 and

863.

       The conspiracy charged in Count 1, according to the Government’s evidence introduced

at trial, occurred over approximately fifteen (15) months between the period August 27, 2016

through November 17, 2017 (the “Conspiracy”). Id. According to the Government, Beasley’s

own involvement in the Conspiracy, however, encompassed, literally, an eight (8) day period,




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September 3, 20171 - September 11, 2017. On or about September 3, 2017, the Government

maintained that David Carroll, a charged and cooperating member of the Conspiracy (“Carroll”),

first sold two (2) ounces of Methamphetamine to Beasley for cash. See Carroll Trial Testimony

(“Carroll Tr. Test.”), July 31, 2017 and August 1, 2017. Beasley’s involvement, according to the

Government’s own evidence, ended on September 11, 2017 after Carroll had sold three (3)

ounces of Methamphetamine to Beasley shortly before a vehicle in which Beasley was a

passenger was interdicted.2

                    II. Trial Facts as to Beasley and Counts 1, and 16-17.3

       Examining the evidence introduced by Government at trial in a light most favorable to

the Government (as is required in any Rule 29(a) analysis (see below)), Beasley’s first actions in

the Conspiracy occurred on or about August 27, 2017 when Beasley’s text message and phone

call to Carrol regarding the purchase of marijuana were intercepted by Government pursuant to a

wire tap obtained on Carroll’s phone (Phone IV for the purposes of the evidence). Carroll Tr.

Test., August 1, 2017. The substance of Beasley’s August 27, 2017 “conversations” with Carroll

was clearly the purchase of an unknown quantity of marijuana; Carroll acknowledged this during

his August 1, 2019 testimony on cross examination. Carroll Tr. Test., August 1, 2017.

       Working backwards, chronologically, through the facts as introduced by the Government

at trial as to Beasley only, on September 11, 2017, Marion County Sheriff’s Deputy Sgt James



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  According to trial testimony and the Government’s evidence, Beasley first purchased
methamphetamine from Carroll on September 3, 2017 following an initial phone call (regarding
the purchase of meth) from Beasley to Carroll on September 1, 2017.
2
  The same traffic stop that Beasley contested, pre and at trial by way of renewal of Beasley’s
Motion in Limine (Dkt 762) and corresponding objections.
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  These facts were set forth in Beasley’s Brief in Support of Judgment of Acquittal (Dkt ) and
again in Beasley’s Brief in Support of his Renewed Judgment of Acquittal. However, for the
purposes of considering an appropriate sentence for Beasley, it is important to consider Beasley’s
limited involvement in the conspiracy once again.
                                                2
Barker (“Barker”), assisted by Indianapolis Metropolitan Police Department (“IMPD”) officers

Michael O'Day (“O’Day”) and a third officer, assisted with an interdiction traffic stop of a

yellow Chevy with Indiana License plate number TIO921 (the “Vehicle”). See Barker Trial

Testimony (“Barker Tr. Test.”), August 1, 2017.4 The Vehicle, even more specifically described

by West as a yellow Chevy Cavalier with flames, was stopped by Barker, who determined the

driver to be Susan Koch (“Koch”). Id. Barker (and West) testified that though West was

conducting surveillance on Carroll and believed Beasley to have just exited Carroll’s apartment

following a drug transaction, thus triggering the interdiction stop, the stop of the Vehicle was

further “justified” because the Vehicle crossed the double yellow line while traveling south

bound on North Sherman, Indianapolis (Marion County), Indiana and the Vehicle was observed

by officers traveling 50 mph in a 35-mph zone on south bound left of center at the 3200 block of

Central. Id.

       After stopping the Vehicle, Barker approached the driver’s side of the Vehicle and made

contact with Koch; while speaking with Koch, Barker allegedly smelled the odor of raw

marijuana coming from the interior of the vehicle. Barker Tr. Test., August 1, 2019. Barker

then had Koch and Beasley, the front seat passenger, exit the Vehicle. Reluctantly, on cross




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  There was conflicting testimony regarding the interdiction stop; specifically, IMPD officer
Malachi West (“West”), who was conducting surveillance of Carroll’s apartment at 3433 Central
Avenue, Constitution Gardens Apartments, testified that Barker assisted O’Day. See West Trial
Testimony, August 1, 2019. In fact. West even testified that he never lost site of the Cavalier
after it left Carroll’s apartment and that he observed O’Day stop the Vehicle. Id. However,
Barker testified that he made the interdiction stop on the vehicle in which Beasley was a
passenger and was assisted by IMPD Officers O’Day and a third IMPD officer that arrived at the
stop even prior to O’Day’s arrival. Barker Tr. Test., August 1, 2019. Anecdotally, an FBI report
regarding the Beasley traffic stop was referenced and filed in support of Beasley’s Motion in
Limine (Dkt ) also stated that O’Day made the stop and was assisted by Barker. See Dkt 762
and attachments.
                                                 3
examination, Barker likewise testified that the third assisting IMPD officer effected a pat down

search of Beasley but did not locate any contraband on Beasley’s person. Id.

       After Koch and Beasley had been removed from the Vehicle, Beasley had been patted

down (with no contraband discovered), O'Day then arrived on the scene, spoke with Koch, and

told Koch he had probable cause to search the Vehicle because Barker (and, apparently, O’Day)

smelled raw marijuana coming from the inside of the Vehicle.5 Id. Barker testified that O’Day

advised Koch (and Beasley) of their Pirtle and Miranda warnings; Barker testified that Koch

then consented to the search of the Vehicle. Id.

       According to Barker, Koch told O’Day there was marijuana in her purse and marijuana

was recovered from her purse from a plastic baggie in a red container in Koch's purse. Id.

O'Day and Barker then searched the Vehicle and, pursuant to that search, O’Day located a set of

digital scales, with a white crystal substance on it, under the front passenger seat of the Vehicle.

Id. Barker stated that Beasley admitted the scales belonged to him and Beasley was then placed

in handcuffs because Barker (and, apparently, O’Day) believed the white substance located on

the scales was methamphetamine. Id.

       Following a second pat down of Beasley, according to Barker’s trial testimony, O’Day

allegedly located (a) a grey plastic bag containing an unknown greyish substance (suspected

heroin) from Beasley’s sweatshirt, (b) a clear plastic baggie containing vegetation (suspected

marijuana) from Beasley’s waistband, (c) a clear plastic baggie with three (3) separate clear

baggies containing a white crystal substance (suspected methamphetamine) also from Beasley’s

waistband. Id. It was determined that the Methamphetamine located on Beasley was just over



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  O’Day was not called as a witness in the Government’s case; likewise, the third officer
involved in Bealey’s interdiction stop that conducted the initial pat down of Beasley also did not
testify for the Government. See generally, August 1, 2019 trial testimony.
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eighty-three grams (less than three (3) ounces). Id. Barker attempted (and, ultimately, did) make

in court identification of Beasley but only after Barker had first identified co-defendant Richard

Grundy, III’s counsel, Kenneth Riggins, as Beasley. Barker Tr. Test., August 1, 2019.

       Koch was ultimately released on a summons for possession of marijuana; no traffic

citations were issued to Koch, however, for the alleged traffic violations to which West and

Barker testified Koch committed. Barker Tr. Test., August 1, 2019.

       After the traffic stop was completed, Koch allegedly consented to the search of her

residence at 4801 London Drive, Indianapolis, Indiana (the “Property”). Trial Testimony of

IMPD detectives Mark Kunst (“Kunst”) and Edward Bruce (“Bruce”), August 1, 2019. Kunst

further testified, over Beasley’s objection, that Koch informed Kunst that Beasley had spent the

previous night (i.e., September 10, 2017) at the Property. Kunst Tr. Test., August 1, 2017.

Thereafter, Bruce located three (3) ounces of methamphetamine in three (3) baggies inside a

black, men’s shoebox, inside a Hangtime store bag. Bruce Tr. Test., August 1, 2019.

       According to the August 1, 2019 trial testimony of IMPD/FBI officer Patrick Bragg

(“Bragg”), on September 5, 2017, while conducting surveillance on Carroll and Carroll’s Orange

Dodge truck, Carroll’s truck was observed at Hangtime, a retail store located at East 38th Street

in Indianapolis, Indiana, next to a yellow Cavalier. Bragg Tr. Test., August 1, 2019. Bragg

observed a black male exit the Cavalier and get into Carroll’s truck and, as Bragg was circling

the block, the black male who had exited the Cavalier had gotten back in the Cavalier and both

vehicles (Carroll’s and the Cavalier), left the location. Id. Bragg testified on cross that he did

not observe either Carroll or the black male from the Cavalier enter Hangtime. Id.

       Carroll testified that he sold methamphetamine to Beasley on three (3) occasions: (a)

September 3, 2017 (2 ounces), (b) September 10, 2017 (7 ounces), and (c) September 11, 2017



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(3 ounces); Carroll testified that Beasley always paid cash on the barrel for the

methamphetamine Beasley purchased and that Beasley owed Carroll no money. Carroll Tr.

Test., July 31, 2017 – August 1, 2017. Carroll further testified that (a) he never sold heroin to

Beasley and (b) that he sold marijuana to Beasley, including on August 27, 2017. Id.

       In total, regarding Beasley’s involvement in the Conspiracy, the Government believed

that Beasley (a) purchased less than a pound of methamphetamine from Carroll (twelve (12)

ounces), (b) never traveled out of state to purchase (or sell) methamphetamine, and (c) had no

interaction or contact with any of the Conspiracy leaders.

        III. Beasley’s Sentence should be Sufficient but Not Greater than Necessary.

       In fashioning an appropriate sentence for Beasley, this Court must consider the following

factors (as applicable to this matter and, Beasley, individually):

       (1) the offense conduct and the characteristics of the defendant;

       (2) the need for the sentence to:
               (a) reflect the seriousness of the offense, promote respect for the law and provide
       just punishment;
               (b) afford general deterrence;
               (c) afford specific deterrence; and
               (d) provide the defendant with any needed education, training, medical care or
       treatment;

       (3) the kinds of sentences available;

       (4) the Guidelines and related policy statements;

       (5) the need to avoid unwarranted sentencing disparities; and




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       (6) the need for rehabilitation.

18 U.S.C. § 3553(a).

       The overriding goal is to provide, after consideration of these factors, a sentence which is

sufficient, but not greater than necessary, to achieve these purposes. Id. Significantly, the

Guidelines are not to be considered presumptively reasonable by the district court. United States

v. Ross, 501 F.3d 851, 853 (7th Cir. 2007). This Court may categorically reject a guideline if it

disagrees with the Sentencing Commission’s analysis. Spears v. United States, 555 U.S. 261,

263-64 (2009). And, it may be reversible error for a district court to presume a guideline

sentence is reasonable. Nelson v. United States, 555 U.S. 350, 352 (2009). Lastly, extraordinary

circumstances are not needed to impose a non-guideline sentence. Gall v. United States, 552 U.S.

38, 47 (2007).

            IV. The Guideline Sentence is Excessive where Beasley is Concerned.

       A.        The Pre Sentence Investigation Report Calculation.

       The Pre-sentence Investigation Report writer opines that Beasley’s guideline sentence is

235-293 months, based upon a finding of offense level 34 and criminal history category V. See

Dkt 1046 at p. 22. The calculated base offense level (34) was determined because the guideline

for a violation of 21 U.S.C. §§ 841(a)(1) and 846 is USSG §2D1.1 and according the same, the

base offense level is 34, when there is at least 500 grams but less than 1.5 kilograms of actual

methamphetamine. USSG §§2D1.1(a)(5) and (c)(3). Id. at pp. 8-9.

       Beasley doesn’t dispute that this is the appropriate guideline calculation (and, thus, had

no objection thereto), however, as argued hereinbelow, the offense conduct where Beasley’s

involvement is concerned and Beasley’s characteristics justify a less than guideline sentence.




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       B.      Beasley’s Conduct Supports a Less Than Guideline Sentence.

               As to Beasley, and under 18 U.S.C. § 3553(a)(1), Beasley’s offense conduct must

be considered by this Court and support a sentence less than the guideline sentence in this Case.

Beasley’s offense conduct can be summarized as follows:

       (i)     Beasley’s involvement in the Conspiracy encompassed, literally, an eight (8) day
               period, September 3, 2017 - September 11, 2017;

       (ii)    Other than Carroll, Beasley had no association, at all, with any of the other
               charged conspirators or co-defendants on trial with Beasley now;

       (iii)   Beasley paid only cash, on the barrel, the for a total of twelve (12) ounces of
               methamphetamine;

       (iv)    Beasley never traveled out of state to purchase (or sell) methamphetamine;

       (v)     No evidence from any of the hours long wire taps that were introduced of Beasley
               using “drug code” or any other language indicative of his participation in the
               charged conspiracy;

       (vi)    No evidence of controlled buys of methamphetamine from Beasley or anyone
               alleged to be selling methamphetamine on Beasley’s behalf;

       (vii)   No evidence of telephone communications or transactions, of any kind, between
               Beasley and co-conspirators other than Carroll;

       (viii) No evidence of any other communications (i.e. text messages or other), between
              Beasley and co-conspirators other than Carrol;

       (ix)    No evidence of Beasley warning co-conspirators of the presence of law
               enforcement, or vice versa, despite the fact that Beasley was arrested on
               September 11, 2017, more than two (2) months prior to the other co-conspirators’
               arrest in this Case;

       (x)     No evidence Beasley provided additional customers or leads for potential
               customers to any co-conspirator, or vice versa;

       (xi)    No evidence that Beasley received any measurable benefit from the conspiracy
               (i.e. – Beasley was never associated with nor were any large sums of cash found
               on or near Beasley);




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       (xii)   No evidence that Beasley associated, in any manner, with any of the co-
               conspirators in this Case (in fact, there was no evidence, at all, that Beasley
               associated with or fraternized with Carroll in any manner other than to pay for and
               pick up methamphetamine which was charged at Carroll’s normal, going rates);

       (xiii) No evidence from any of Beasley’s statements over the wiretaps or otherwise that
              Beasley was intending to purchase methamphetamine from Carroll and, in turn,
              distribute the same to Beasley’s (or, for that matter, other customers of the
              charged conspiracy) other than the weight itself that Beasley had purchased;

       (xiv)   No evidence that Beasley purchased methamphetamine exclusively from Carroll
               to further the interests of the conspiracy; and

       (xv)    The charged conspiracy and co-conspirators had an obviously vast customer base
               for methamphetamine and heroin of its own and no (alleged) customers of
               Beasley were the same as those of the conspiracy.

       While the Court denied Beasley’s twice asserted Rule 29 motions for the entry of

judgment of acquittal, certainly Beasley’s limited involvement in the Conspiracy as set forth

herein justifies a sentence below the proposed guideline range.

       C.      Beasley’s Offender Characteristics Support a Less Than Guideline Sentence.

               1.      Beasley’s Personal Background and Dependants.

       Beasley is a thirty-nine (39) year old black male who has lived in Indianapolis all of his

life. See generally, Dkt. 1046. Beasley has his GED. Id. at p. 5. And, Beasley is the father to

one (1) minor child. Id. Beasley speaks to his mother, who is in poor health, eevery week

(though Beasley is incarcerated). Id at p. 18. Beasley’s father was never really present in his life

and, in fact, Beasley, reported that he had no relationship with his father, saw him only

occasionally while visiting his grandmother during the summers in Tennessee. Id. Though

Beasley did maintain a close relationship with his grandmother, with whom he lived for four (4)

months at age fourteen (14) and who he visited frequently. Id. at p23. While Beasley did report

that he grew up in a loving home (primarily because of his mother’s involvement in his life,

Beasley stated in the Report that his lower-class neighborhood was filled with crime and

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violence. Id.

       While Beasley has only one (1) minor child (13 years old), Beasley does have another

child, a nineteen (19) year old daughter. Beasley reported that while he could have been a better

father, prior to his incarceration on this Case Beasley had regular visitation and contact with his

children. Id. And, Beasley was court ordered to pay child support though he believed he was

approximately ten thousand dollars ($10,000) in arrears to the mother of his second child. Id.

                2.     Beasley’s Substance Abuse Issues.

       Beasley stated that while, as result of his incarceration on this Case, he has now been

sober for approximately two (2) years, he does believe he would benefit from further substance

abuse treatment and Beasley further admitted that his drug use is the cause for his involvement in

the instant offense. Id. at p. 21. Beasley reported that he extensively used illegal drugs and

alcohol from a very young age right up until the time that he was arrested on this Case. Id. at p.

20. And, that Beasley had attempted (obviously, unsuccessfully) several programs for drug and

alcohol addiction treatment. Id. As such, Beasley could benefit from treatment while he serves

his time at the Bureau of Prisons on this Case.

       Based upon Beasley’s personal characteristics, a less than guideline sentence is warranted

in this Case.




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                                       V. Conclusion.

       A sentence below the proposed guideline range should be entered as to Beasley.

Dated: Indianapolis, Indiana               SOVICH MINCH, LLP
       December 8, 2019
                                           /s/ Theodore John Minch
                                           ___________________________________
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                                CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing was forwarded this day to the following
party representatives for Government and Co-Defendants via electronic mail and this Court’s
electronic filing system this 8th day of December, 2019:

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